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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

BRANDON HUDSON, individually                     )
and on behalf of all others similarly            )
situated,                                        )      Judge Charles R. Norgle, Sr.
                                                 )
       Plaintiff,                                )      Case No. 1:18-cv-02712
                                                 )
v.                                               )      Magistrate Judge Mary Rowland
                                                 )
SPRINT SOLUTIONS, INC.,                          )
DIVERSIFIED CONSULTANTS, INC.,                   )
and as yet unknown JANE DOES and                 )
JOHN DOES                                        )
                                                 )
       Defendants.                               )


             DIVERSIFIED CONSULTANTS, INC.’S RESPONSE TO
            PLAINTIFF’S CITATION TO ADDITIONAL AUTHORITY

       NOW COMES defendant Diversified Consultants, Inc. (“DCI”), by and through

undersigned counsel, and in response to the Citation to Additional Authority filed by

plaintiff [Dkt. 50], states as follows:

       1.       Both DCI and Sprint have moved to dismiss plaintiff’s lawsuit and compel

arbitration or, in the alternative, to dismiss the complaint for failure to state a claim.

Dkts. 20, 24.

       2.       As this Court has acknowledged, the motions to compel are fully briefed

and the Court will rule by mail. Dkt. 48.

       3.       Now, after briefing on these motions has been completed, plaintiff has

chosen to file what he refers to as a Citation to Additional Authority. Dkt. 50. In reality,

however, plaintiff’s filing is more than a mere citation to authority, it is a supplemental
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brief in opposition to the motions to compel, replete with argument. Plaintiff failed to

seek leave to file this supplemental brief and this Honorable Court should disregard it.

       4.     However, if this Court considers plaintiff’s brief, then DCI believes it is

compelled to respond.

       5.     As an initial matter, plaintiff has repeated his curious, and specious,

argument that the applicable arbitration agreement was not produced until after a court

order and that it was not authenticated by affidavit. This argument is belied by plaintiff’s

own pleadings wherein he filed the applicable arbitration agreement with his complaint

that initiated this federal lawsuit. See Dkt. 1. Of course, plaintiff was well aware of the

arbitration agreement that applied to his claims because, as he described in his own

complaint, he already participated in arbitration proceedings pursuant to that agreement

before he ever filed this federal lawsuit. Id.

       6.     It was unnecessary to file the applicable agreement with the motion to

compel for several reasons. First, the agreement is contained within the four corners of

the Complaint. Second, plaintiff himself relies upon and assumes the validity and

authenticity of the agreement throughout his complaint. Third, the agreement was

authenticated in the prior arbitration proceeding in which plaintiff participated. Fourth,

that agreement was found by arbitrator to govern the claims during that prior arbitration

proceeding. Regardless, the agreement has been authenticated multiple times and DCI

relies upon the agreement in support of its motion. See. Dkts. 24, 42.

       7.     With respect to the opinion cited by plaintiff, his reliance upon Thompson

v. AT&T Services, No. 17 C 3607, 2018 WL 4567714 (N.D. Ill. Sept. 24, 2018) is
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misplaced. Notably, the Court in Thompson focused on whether the debt collector in that

case was an agent of AT&T and the Court merely found that more discovery was

necessary on that issue. As a result, the motion to compel was denied without prejudice

to refiling it. Plaintiff’s representation that the Thompson Court “found that a debt

collector was not entitled to seek arbitration of a lawsuit related to its debt collection

efforts” is a gross misrepresentation of the Court’s finding.

       8.       Contrary to Thompson, plaintiff in this case has not before disputed that

DCI was Sprint’s agent. In fact, plaintiff made a specific point to allege a contractual

relationship between Sprint and DCI in his own complaint where he alleges that Sprint

contracted with DCI to collect the subject debt. Dkt. 1, ¶¶ 79-82 (plaintiff alleges

numerous violations based upon “Sprint’s conduct in contracting with Diversified….”).

       9.      In fact, plaintiff’s entire cause of action against DCI is premised upon his

assertion (concession) that DCI was acting as an agent of Sprint. Even in response to the

motion to compel arbitration, plaintiff chose to concede the contractual relationship.

Plaintiff said: “Sprint hired Diversified to collect monies which Sprint (incorrectly)

believes that Plaintiff owes Sprint” and that Diversified “attempted to collect the disputed

debt on behalf of Sprint.” Dkt. 34-1, p. 1.

       10.     Plaintiff has already conceded that DCI is an agent of Sprint; he cannot

now run away from this fact and seek discovery on this issue after the motion to compel

is fully briefed.

       11.     The Court in Thompson also analyzed a wholly different arbitration

agreement than the one at issue here.         In Thompson the Court analyzed an AT&T
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agreement whereas the court in Bowles v. Receivables Performance Mgmt., LLC, No. 15 C

4991, 2016 WL 775786 (N.D. Ill. Feb. 24, 2016) analyzed the Sprint arbitration agreement

nearly identical to the one at issue here. In Bowles, the Court concluded that the arbitration

agreement was broad enough to cover the debt collection agency and granted the collection

agency’s motion to compel arbitration. Id.

       12.    This Honorable Court should follow the reasoning of Bowles and grant its

motion to compel arbitration.

       WHEREFORE, DCI respectfully requests that plaintiff’s claims be compelled to

arbitration and the lawsuit be dismissed or, in the alternative, that the Complaint be

dismissed with prejudice for failure to state a claim upon which relief may be granted,

and for all further and additional relief that this Court deems equitable and just.

                                             Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I certify that on September 28, 2018, the foregoing was filed electronically in the

ECF system. Notice of this filing will be sent to the parties of record by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s

system.


                                          s/ Daniel W. Pisani




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